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                                   STATEMENT OF FACTS

        Your affiant, John P. McNulty, is a Special Agent assigned to the Federal Bureau of
Investigation. In my duties as a Special Agent, I am responsible for investigating Domestic
Terrorism cases (including Racially Motivated Violent Extremism, Anti-Government Extremism,
Anarchist Extremism, and Militia Extremism), as well as Counter Terrorism Threat Assessments
and Threat to Life matters. As part of my duties, I have investigated federal criminal violations
involving firearms, possession of explosives, bomb threats, and threats of violence communicated
over phone and through the use of the internet. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
                                   Identification of Steven THURLOW

       On or about February 18, 2021, a Complainant submitted a tip to the FBI (“Witness 1”)
regarding STEVEN THURLOW (THURLOW). Witness 1 is someone familiar with
THURLOW. Witness 1 stated that THURLOW was inside the U.S. Capitol during the riot on
January 6, 2021, and that Witness 1 observed posts on THURLOW’s Facebook Account
regarding THURLOW’s involvement. Witness 1 heard through THURLOW’s family members
about THURLOW and THURLOW’S activities. Witness 1 took several screenshots (Images 1 –
6 below) of THURLOW’s Facebook page and submitted them to the FBI.

        Witness 1 provided Image 1, below, from THURLOW’s Facebook page. Image 1 shows
a man in camouflage tactical gear with a “Boogaloo” patch on the chest, as well as a “Torii”
patch on the body armor. Based on my training, experience, and other investigations, I know that
the “Boogaloo” is a term referencing a violent uprising or impending civil war. The term is
sometimes used by militia extremists and racially or ethnically motivated violent extremists
(RMVE), who allude to it using shorthand such as “big igloo” or “big luau” and imagery such as
igloos or Hawaiian shirts. The term has particularly resonated with militia extremists, who have
adopted it to reference an impending politically-motivated civil war or uprising against the
government following perceived incursions on Constitutional rights—including the Second
Amendment—or other perceived government overreach. Some RMVEs have used the term to
reference an impending race war—or other conflict that will lead to the collapse of the “system,”
including the US government, society, etc. The Boogaloo is not a single cohesive group, but
rather a loose concept arising from internet platforms which has become a rallying point for
some extremists. Your affiant is aware that a number of Boogaloo members participated in the
January 6, 2021 riot on the U.S. Capitol. Also based on my training and experience, a “Torii” is
a symbol used by the 187th Infantry Regiment, 3rd Brigade, 101st Airborne Division. The “Torii”
is known as a gateway to honor and is used extensively by the unit. Within Image 1, THURLOW
is seen in a gas mask, with what appears to be a knife on his left shoulder, and with what appears
to be an AR-15 style rifle. The Facebook post states:

        Ahh nothing like a new pair of 511’s and fresh set of level IV SAPI’s in the plate carrier
                                   to go “peacefully protest” with.

Your affiant is aware that “SAPI” refers to a Small Arms Protective Insert, and that a Level IV
“SAPI” plate is a high-level ballistic body armor plate that is rated to withstand a direct hit by a
high muzzle velocity armor piercing bullet.
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                                                Image 1

        Military records obtained for THURLOW indicate he served in the United States Army
from July 1988 until October 1991. THURLOW served in 3rd Battalion, 187th Infantry regiment,
3rd Brigade, 101st Airborne Division. This information is consistent with information provided to
the author by Witness 1.

       Witness 1 provided Image 2, and indicated it was taken from THURLOW’s Facebook
page. Image 2 shows an individual that Witness 1 identified as THURLOW laying on what
appears to be a conference room table that was, as discussed infra, confirmed to be inside the
U.S. Capitol Building.
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                                              Image 2

      Witness 1 also provided Image 3, and indicated it was taken from THURLOW’s
Facebook page. Image 3 appears to be taken in the same room as Image 2 from a different angle.




                                              Image 3
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        Witness 1 provided Image 4 and indicated it was taken from THURLOW’s Facebook page.
Image 4 appears to be taken from inside the U.S. Capitol building on January 6, 2021, and shows
other rioters standing in the hallway.




                                               Image 4
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        Witness 1 also provided Image 5, and indicated it was taken from THURLOW’s Facebook
page. In the caption to Image 5, the text states that a riot disbursement device was shot at them.
Based on my knowledge of the events on January 6, 2021, I know that U.S. Capitol Police used
riot disbursement devices such as tear gas and pepper spray in order to clear the grounds of the
U.S. Capitol.




                                                Image 5
       Witness 1 provided Image 6, and indicated it was taken from THURLOW’s Facebook
page. Image 6 appears to be an image from inside the U.S. Capitol hallways on January 6, 2021,
and displays several U.S. Capitol Police Officers in riot gear.
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                                                 Image 6

       Your affiant has since reviewed THURLOW’s public Facebook profile, and the above-
referenced posts in Images 1 - 6 appear to have been deleted or removed by THURLOW and/or
cannot be viewed publicly.

        Images 2, 3, 4, and 6 were sent to the U.S. Capitol Police (USCP) to verify they were taken
from inside the U.S. Capitol. A Special Agent with the USCP confirmed that these photos were
taken from inside the Capitol building on the Senate side. USCP confirmed that the U.S. Capitol
building, and these areas in particular, were closed to the general public on January 6, 2021.
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       Based on law enforcement and open source database checks, including examination of the
Michigan Department of Motor Vehicles driver’s license photo for THURLOW, your affiant
believes that the individual in Images 1, 2 and 3 is THURLOW. In addition, open source database
checks and Michigan Department of Motor Vehicle records record THURLOW’s residence
address to be in Saint Clair Shores, Michigan.

       On or about February 18, 2021, FBI Detroit conducted open source searches to locate
THURLOW’s Facebook account. FBI Detroit located a Facebook user, STEVEN THURLOW
(STEVEN.) STEVEN is the known son of THURLOW, and STEVEN currently serves in the
United States Army. Witness 1 also confirmed that STEVEN is the son of THURLOW. On
Facebook STEVEN is friends with someone with the profile “Stephanie Danielle Thurlow”—what
agents believe to be THURLOW’s actual account.

       A review of the Facebook profile for “Stephanie Danielle Thurlow” shows several photos
of THURLOW and no images of any women. Additionally, the URL for this profile displays as
facebook.com/steven.t.thurlow. Based on my training and experience, Facebook users can easily
change their profile names to remain anonymous, however it takes extra steps for a user to change
the name of the URL header. Image 7 displays the Facebook profile for “Stephanie Danielle
Thurlow” as well was the URL.




                                                Image 7
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        On or about February 19, 2021, the FBI contacted Witness 1, and Witness 1 stated that
THURLOW only had two sons and no daughters. Witness 1 confirmed that THURLOW’s wife’s
name is not Stephanie. The FBI asked Witness 1 to view the Facebook page for “Stephanie
Danielle Thurlow.” Witness 1 stated that they believed this profile was the same Facebook profile
that THURLOW previously used. Witness 1 believed this because the quote on the page “you have
never lived till you have almost died” was also on THURLOW’s page when he posted the photos
inside the Capitol. Witness 1 initially believed that THURLOW had deleted his page to avoid law
enforcement, but now believes THURLOW changed the name of the page to “Stephanie Danielle
Thurlow.”

         Images 8 and 9 are two additional images pulled from the public profile Facebook page
“Stephanie Danielle Thurlow.” Image 8 shows THURLOW wearing a 101st Airborne Division
shirt in front of Stone Mountain, GA with two younger males. Image 9 appears to show a younger
THURLOW, in a photo likely taken during THURLOW’s military service, wearing a desert
camouflage uniform and standing with a man wearing traditional Middle Eastern clothing.
THURLOW’s military records indicated he served in Saudi Arabia for approximately 6 months in
1990.




                                                Image 8
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                                                Image 9
        On March 15, 2021, FBI lawfully obtained records from from Facebook, Inc. relating to
the Facebook account attributed to THURLOW and for any account in the name of Stephanie
Danielle Thurlow. FBI received records for the Facebook account with Unique Identification
Number 1638314793 (in the name of Stephanie Danielle Thurlow): the account had a vanity name
of “steven.t.thurlow” and was registered to an email address (thurlowsteven@XXXXX.com) and
a phone number known to be associated with THURLOW ((586) XXX-3528). The Facebook
records also indicate that the account was created in 2009 and that it is still an active account.
Based on this information, your affiant believes that this account is controlled and utilized by
THURLOW and is the same account that was observed by Witness 1.

       On May 7, 2021, FBI obtained T-Mobile records related to phone number ((586) XXX-
3528). The records show the subscriber for (586) XXX-3528 to be Steven THURLOW and the
subscriber’s address as the same address in Saint Clair Shores, Michigan that is on file with the
Michigan Department of Motor Vehicle Records.

        On or about February 23, 2021, a second Complainant (“Witness 2”) submitted a tip to
the FBI regarding THURLOW. Witness 2 was interviewed and provided information that
THURLOW was inside the U.S. Capitol during the riot on January 6, 2021, and that they had
observed screenshots they received from of THURLOW’s Facebook Account regarding
THURLOW’s involvement. Witness 2 is familiar with THURLOW and so is the person who
sent the screenshots. Witness 2 recognized THURLOW in the screenshots. Witness 2 knows
THURLOW personally and said THURLOW joined the military and became more of a
conspiracy theorist since that time. Witness 2 also indicated that they believed that THURLOW
had deleted all of the posts from Facebook of himself in the Capitol. Witness 2 provided the
following screenshot to the FBI:
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                                           Image 10

        Image 10 matches Image 3, above. After reviewing Images 10 and 3, your affiant’s notes
that the screenshots appear to have been taken at different times (6:01 for Image 10 and 3:39 for
Image 3)—providing two separate corroborating accounts on THURLOW’s Facebook posts and
presence inside the U.S. Capitol building.

        On or about May 6, 2021, your affiant reviewed CCTV footage of the Capitol riot on
January 6, 2021. When reviewing the footage from camera in the area where THURLOW took
the selfie images, THURLOW can be observed walking through the halls of the Senate side of
the Capitol building. THURLOW can be observed wearing a Black backpack, Black watch cap,
a camouflage colored jacket, grey pants, yellow scarf, and white rimmed sunglasses.
THURLOW is observed walking through the hallways holding up a cell phone and recording the
events as they are happening.

       Image 11 was taken from the CCTV footage inside the U.S. Capitol. This image shows
THURLOW entering the hallway of the senate side of the Capitol, holding his cell phone up and
beginning to record the events.
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                                              Image 11

        Image 12 was taken from the CCTV footage inside the U.S. Capitol. In this image
THURLOW is continuing to record on his cell phone. In the top of the image you can see a person
wearing a blue knit cap with white designs on it, as well as a person standing holding a Trump
flag. This matches what was captured in Image 4 above.




                                           Image 12
        Image 13 was taken from the CCTV footage inside the U.S. Capitol. During this part of
the video, THURLOW turns and faces the camera. In the image you can see THURLOW wearing
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the clothing matching the images captured from his Facebook page. These include the black watch
cap, Camouflage jacket, yellow scarf, and white sunglasses.




                                              Image 13

        Image 14 was taken from CCTV footage inside the U.S. Capitol. In this image you can
see THURLOW still wearing the same clothing as he is walking through the building and recording
on his cell phone




                                              Image 14
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       Image 15 was taken from CCTV footage inside the U.S. Capitol. In this image you can
see THURLOW stop in one of the hallways clearly having his cell phone open as he uses it to
record or message.




                                              Image 15

        Image 16 was taken from CCTV footage inside the U.S. Capitol. Here THURLOW is
observed walking up to the second floor of the Capitol building. THURLOW is still holding his
cell phone which now has the flashlight on as he continues to record.




                                              Image 16
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       On or about June 9, 2021, a third complainant (Witness 3) was interviewed by the FBI.
Witness 3 is a relative of THURLOW and reported his activity to authorities. Witness 3 observed
posts made by THURLOW on Facebook of THURLOW inside the United States Capitol. Witness
3 said THURLOW had removed the images off of Facebook and changed his display name to
“Stephanie Danielle Thurlow” after the Capitol riot. Your affiant showed Witness 3 images 1, 2
and 3 referenced above. Witness 3 confirmed they saw those images on THURLOW’s Facebook
and that THURLOW is the person in those images.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
THURLOW violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that THURLOW violated 40
U.S.C. § 5104(e)(2)(D) and (G)), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      John P. McNulty
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of June 2021.

                                                                     2021.06.24
                                                                     15:36:47 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
